                    UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                       WINSTON-SALEM DIVISION



FEDERAL TRADE COMMISSION,
STATE OF CALIFORNIA, STATE OF
COLORADO, STATE OF ILLINOIS,
STATE OF INDIANA, STATE OF IOWA,
STATE OF MINNESOTA, STATE OF                      Case No. 1:22-cv-00828-TDS-JEP
NEBRASKA, STATE OF OREGON,
STATE OF TENNESSEE, STATE OF
TEXAS, STATE OF WASHINGTON, and
STATE OF WISCONSIN,                               PLAINTIFF FEDERAL TRADE
                                                  COMMISSION’S SUGGESTION
               Plaintiffs,                        OF SUBSEQUENTLY DECIDED
                                                  AUTHORITY
        v.
SYNGENTA CROP PROTECTION AG,
SYNGENTA CORPORATION,
SYNGENTA CROP PROTECTION, LLC,
and CORTEVA, INC.,
               Defendants.



       Pursuant to Local Rule 7.3(i), Plaintiff Federal Trade Commission hereby submits

a suggestion of subsequently decided authority relevant to Defendants’ Motions to

Dismiss the Amended Complaint (Docs. 94, 99) and Plaintiffs’ Response in Opposition

thereto (Doc. 110).

       The subsequently decided authority is Illumina, Inc. v. FTC, No. 23-60167, 2023

WL 8664628, at *3, *16 (5th Cir. Dec. 15, 2023) (holding that removal protections for

Federal Trade Commission commissioners are constitutional per binding Supreme Court

precedent). It is attached hereto as Exhibit A.




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Dated: December 19, 2023         Respectfully submitted,

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